      Case 1:17-cv-07066-JPC-DCF Document 156
                                          155 Filed 12/16/20
                                                    12/15/20 Page 1 of 3




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ x                       12/16/2020
 GENXIANG ZHANG; and
 XINHUI ZHANG
 On behalf of themselves and others similarly situated,               Case No. 17-cv-7066 (JPC)-(DCF)
                                              Plaintiffs,
                                                                      [PROPOSED]
                                 v.                                   JUDGMENT AGAINST
                                                                      DEFENDANTS FREEDOM
                                                                      PLACE REST LLC d/b/a HIRO
   HIRO SUSHI AT OLLIES, Inc.                                         SUSHI AT OLLIE’S, 39 WEA
           d/b/a Hiro Sushi at Ollie’s,                               FOOD GROUP, INC. d/b/a MAH
  FREEDOM PLACE REST LLC,                                             JONG CHINESE KITCHEN only
           d/b/a Hiro Sushi at Ollie’s,
  39 WEA FOOD GROUP, Inc.,
           d/b/a Mah Jong Chinese Kitchen,
  TAO RONG
            a/k/a Cindy Rong,
  YI LU,
  ALAN PHILLIPS,
  CHRISTOPHER J. PHELAN, and
  SHLOMO SELA
                                              Defendants.
 ------------------------------------------------------------------ x

The Honorable John P. Cronan, District Judge:


       WHEREAS Defendants FREEDOM PLACE REST LLC d/b/a HIRO SUSHI AT

OLLIE’S, 39 WEA FOOD GROUP, INC. d/b/a MAH JONG CHINESE KITCHEN, by their

attorney Raymond Nardo of the Law Office of Raymond Nardo, P.C., having offered, pursuant to

Rule 68(a) of the Federal Rules of Civil Procedure, to allow judgment in favor of Plaintiffs and

any Opt-In Plaintiffs (Collectively Plaintiffs) to be taken against them in the amount of $25,000.00

including attorney fees, costs, and other expenses now accrued; the offer of judgment is made for

purposes specified in Rule 68, and is not to be construed as an admission that the offerors are liable

in this action or that consent Plaintiffs suffered any damage; Plaintiffs, through John Troy, Troy

Law PLLC, on       having accepted and provided notice that they have accepted Defendants’
      Case 1:17-cv-07066-JPC-DCF Document 156
                                          155 Filed 12/16/20
                                                    12/15/20 Page 2 of 3




FREEDOM PLACE REST LLC d/b/a HIRO SUSHI AT OLLIE’S, 39 WEA FOOD GROUP, INC.

d/b/a MAH JONG CHINESE KITCHEN only Offer of Judgment, dated December 10, 2020, and

the matter having come before this Court, the Court now render it Order, that the Clerk should enter

judgment dismissing the case in accordance with the acceptance of offer of judgment pursuant to

Fed. R. Civ. P. 68 and directing the Clerk to close this case only for Defendants FREEDOM PLACE

REST LLC d/b/a HIRO SUSHI AT OLLIE’S, 39 WEA FOOD GROUP, INC. d/b/a MAH JONG

CHINESE KITCHEN and It is hereby:

       ORDERED, ADJUDGED, AND DECREED, that for the reasons stated in the offer and

acceptance of judgment pursuant to Rule 6, the Clerk shall enter judgment in the amount of

Twenty-Five Thousand Dollars ($25,000), jointly and severally against Defendants FREEDOM

PLACE REST LLC d/b/a HIRO SUSHI AT OLLIE’S, 39 WEA FOOD GROUP, INC. d/b/a

MAH JONG CHINESE KITCHEN only, including attorney’s fees and costs now accrued in five

(5) equal installments with the following payment schedule:

       1. First installment to be paid within 15 days after entry of judgment;

       2. Second Installment to be paid within 45 days after entry of judgment;

       3. Third installment to be paid within 75 days after entry of judgment.

       4. Fourth installment to be paid within 105 days after entry of judgment

       5. Fifth installment to be paid within 135 days after entry of judgment

       WHEREAS if any amounts remain unpaid, upon the aforementioned schedule, that

post-judgment interest shall accrue pursuant to 28 U.S.C. 1961; and

       WHEREAS upon the expiration of 90 days following the issuance of judgment, or 90

days after expiration of the time of appeal and no appeal is then pending, or 90 days following a
     Case 1:17-cv-07066-JPC-DCF Document 156
                                         155 Filed 12/16/20
                                                   12/15/20 Page 3 of 3




default whichever is later, the total amount of judgment shall automatically increase by fifteen

percent, as required by NYLL 198(4) of the New York Labor Law.

       Accordingly, judgment is entered against Defendants FREEDOM PLACE REST LLC

d/b/a HIRO SUSHI AT OLLIE’S, 39 WEA FOOD GROUP, INC. d/b/a MAH JONG CHINESE

KITCHEN only and the case is closed against Defendants FREEDOM PLACE REST LLC d/b/a

HIRO SUSHI AT OLLIE’S, 39 WEA FOOD GROUP, INC. d/b/a MAH JONG CHINESE

KITCHEN only.



        December 16, 2020
Dated: _______________                           _______________________________
                                                     John P Cronan, U.S.D.J.
